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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AM ERICA,

Plaintiff,

vs.

TRAVIS NORMAN,

Defendant.                                          No. 05-CR-30015-DRH-4



                                      ORDER

HERNDO N, District Judge:

             Before the Court are two motions submitted by Defendant Travis

Norman (“Defendant”): a motion for the appointment of new counsel to replace

Defendant’s current attorney, Gordon Freese (Doc. 200), and a motion to proceed

pro se (Doc. 208). With regard to Defendant’s first motion, the Court GRANTS

Defendant’s request to withdraw Attorney Gordon Freese as attorney of record, and

APPOINTS Attorney Justin A. Kuehn, 310 E. Washington St., Belleville, Illinois

62220, to represent Defendant.    With regard to Defendant’s second motion, the

Court, particularly in light of the language in Defendant’s motion,1 assumes that

Defendant desires to be represented by coun se l in this matter, but grew anxious




       1
       In his motion, Defendant emphasizes that he will suffer “irreparable
harm” if Attorney Freese is not withdrawn, and suggests that the Court’s failure
“to make an effective appointment of counsel” would deny him due process.
(Doc. 208.)

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about the amount of time it took the Court to find new counsel. 2 Therefore, the

Court DEN IES Defendant’s motion to proceed pro se. (Doc. 208.)

            IT IS SO ORDERED.

            Signed this 30th day of November, 2005.




                                          /s/         David RHerndon
                                            United States District Court




      2
      Finding new counsel for Defendant was a challenge due to the large
number of Defendants in this and a related case.

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